Case 2:04-cr-20313-SH|\/| Document 72 Filed 06/13/05 Page 1 of 2 Page|D 105

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IN THE UNITED STATES DISTRICT COURT FH°ED gaf \&`H D`("'

FoR THE wEsTERN DISTRICT oF TENNESSE
wEsTERN DIVISION 515 JUN 13 PH 51 35

  
  

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UNITED STATES OF A_MERICA,

Plaintiff,
CR. NO. 04-20313~Ma

VS.

WILLIAM WOODS ,

Defendant.

 

ORDER ON CONTIN'UANCE .AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fron1 May 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § Blél(h){S}(B)(ivJ because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

JMM-~

SAMUEL I-I. MAYS, JR.
UNITED S'I‘A'I‘ES DISTRICT JUDGE

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UNITED TEATS DISTRIC COURT - WESTERN D"RITICT o TENNESSEE

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This notice confirms a copy of the document docketed as number 72 in
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Honorable Samuel Mays
US DISTRICT COURT

